Case 5:20-cv-02618-JWH-KK Document 144 Filed 04/24/23 Page 1 of 6 Page ID #:1861
                                                                          EWEOfjOST          ~~~sT-~~~~
                                                                          04/18/223      ~~~~ .
                                                                              •

                                                                           ~Jti ' ~ ~ •~f.
                                                                          '  jr ,               ZIP 9
                                                                                             Q41M11;




  P                 CORD
   N ationwide Registered Agent Services
   PO Box 160568
   Sacramento, CA 95816-0568




   A ddress         Service          Requested




                                                                    ~`~h
                                                                    U
                                                                         ~~
                                                                      l.% ~~~

                                                              ~          VQ..
                                                                           J
                                                                C~`~~      ~
                                                                ~~          O
                                                                             ,~~
                                                                  C'~'
                                                                                ~~`~~

                                                               ?    ~'%     ~,
                                                                ~          ~,
                                                                        ~~` .r.~
                                                                              u?
                                                                 ~,
    Case 5:20-cv-02618-JWH-KK Document 144 Filed 04/24/23 Page 2 of 6 Page ID #:1862
r
                                                                                                       FILED
                                                                                            CLERK, U.S. DISTRICT COURT
       PlZLILZCOi~
~      Nationwide Registered Agent Services

                                                                                                  -oR 2a X023
                                                                                                   (STRICT OF CALIFORNIA
                                                                                                                 DEPUTY
                                                                                           BY

      April 14`", 2023


      UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
      OFFICE OF THE CLERK
      255 EAST TEMPLE ST RM 180
      LOS ANGELES,CA 90012


      Re: MTK GLOBAL USA,LLC

      To Whom It May Concern:

      Our office is in receipt of the enclosed Service of Process for the above-referenced company. Paracorp
      Incorporated is no longer the registered agent for MTK GLOBAL USA,LLC in CALIFORNIA.

      Please find enclosed the original documents. We are returning these for immediate attention. If
      you have any questions, please do not hesitate to contact Leticia Herrera, Manager, at:(888)272-
      3725.

      Thank you,

     Vanessa Flanagan
     ParacorpIncorporated
     2804 Gateway Oaks
     #100
     Sacramento, CA 95833
     Tel:(888)272-3725




                                              P.O. Box 160568, Sacramento, CA 95816-0568
                                                  Te1:888.272.3725 Fax: 800.603.5868
Case 5:20-cv-02618-JWH-KK Document 144 Filed 04/24/23 Page 3 of 6 Page ID #:1863


                                                                     FILED
 Case: 5:20cv2618   Doc: 193                              CLERK,U.S. DISTRICT COURT


                                                                 ~`°R 2d 2~3
                                                         CENTRAL (STRICT OF ~A61~~~R11~
                                                         BY                    ~~~y




   MTK Global USA, LLC
 2140 S Dupont Hwy
 Camden, DE 19934
Case 5:20-cv-02618-JWH-KK Document 144 Filed 04/24/23 Page 4 of 6 Page ID #:1864


   MIME-Version:l.0 From:cacd_ecfmail@cacd.uscourts.gov To:ecfnef@cacd.uscourts.gov
   Message-Id:<35609451 @cacd.uscourts.gov>Subject:Activity in Case 5:20-cv-02618-JWH-KK
   Heredia et al v. MTK Global Sports Management,LLC et al Status Conference -optional html form
   Content-Type: textlhtml

   This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT
   RESPOND to this e-mail because the mail box is unattended.
   ***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy
   permits attorneys of record and parties in a case (including pro se litigants) to receive one free
   electronic copy of all documents filed electronically, if receipt is required by law or directed by
   the filer. PACER access fees apply to all other users. To avoid later charges, download a copy of
   each document during this first viewing. However,if the referenced document is a transcript, the
   free copy and 30 page limit do not apply.

                                UNITED STATES DISTRICT COURT

                              CENTRAL DISTRICT OF CALIFORNIA

   Notice of Electronic Filing
   The following transaction was entered on 4/3/2023 at 10:13 AM PDT and filed on 3/31/2023

     Case Name:             Heredia et al v. MTK Global Spor[s Management, LLC et al

     Case Number:           5:20-cv-02618-JWH-KK

     Filer:

    Document Number:        143


   Docket Text:
   MINUTES OF HEARING RE: STATUS CONFERENCE held before Judge John W.Holcomb.
   The Court DIRECTS counsel to file a joint status report on or beforeAugust 18, 2023, advising
   the Court of the posture of the case. The Court SETS a Status Conference for August 25,2023,
   at 11:00 a.m.,in person. Court Reporter: Sharon Seffens.(lom)

   5:20-cv-02618-JWH-KK Notice has been electronically mailed to:
   Eric S. Montalvo emontalvo@fedpractice.com
   Ricardo P Cestero calendar~a greenbergglusker.com, rcestero@ggfirm.com, bgarza@ggfirm.com,
   jgore@ggfirm.com
   Rajan Olarita Dhungana rdhungana@fedpractice.com, docketclerk@fedpractice.com,
   clagarde@fedpractice.com
   David S Harris dharris@willenken.com, david@harrislitigation.com
   John K. Ly jly@lianglyllp.com, moz@lianglyllp.com
   Jason L. Liang moz@lianglyllp.com,jliang~a lianglyllp.com
   David R. Keesling dkeesling@fedpracUce.com
   Joshua Michael Geller calendar@greenbergglusker.com, knicolas@greenbergglusker.com,
   jgeller@ggfirm.com,jgeller@greenbergglusker.com
   5:20-cv-02618-JWH-KK Notice has been delivered by First Class U. S. Mail or by other means
   BY THE FILER to
   MTK Global USA,LLC
   2140 S Dupont Hwy
Case 5:20-cv-02618-JWH-KK Document 144 Filed 04/24/23 Page 5 of 6 Page ID #:1865


   Camden DE 19934
   US
Case 5:20-cv-02618-JWH-KK Document 144 Filed 04/24/23 Page 6 of 6 Page ID #:1866




                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OFCALIFORNIA
                                 CIVIL MINUTES -
                                    GENERAL

    Case No.     5:20-cv-02618JWH(KKu)                                Date   March 31, 2023

    Title   Heredia, et al v.11~1TK Global Sports Management, LLC, et al.


    Present: The Honorable      JOHN W.HOLCOMB,UNITED STATES DISTRICT JUDGE
                Clarissa Lara                                        Sharon Seffens
                Deputy Clerk                                         Court Reporter
      Attorneys)Present for Plaintiff(s):                Attorneys)Present for Defendant(s):
              Eric S. Montalvo                                        None
           Rajan Olarita Dhungana

  Proceedings: HEARING RE: STATUS CONFERENCE

        Counsel state their appearances. The Court confers with counsel regarding the
  posture ofthe case.

       The Court DIItECTS counsel to file a joint status report on or before
  August 18, 2023, advising the Court ofthe posture ofthe case. The Court SETS a
  Status Conference for August 25, 2023, at 11:00 a.m., in person.

        The Court DEFERS setting a trial schedule.

        IT IS SO ORDERED.




                                                                                         Time: 00.16
                                                                              Initials ofPreparers cla
